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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                    CRIMINAL ACTION NO. 2:09-cr-00222-27

JOSEPH ROBERT FARERI,

                              Defendant.



                           MEMORANDUM OPINION AND ORDER


       Before the Court is Defendant Joseph Fareri’s Motion for Reopening of Detention Hearing

and/or Review of Detention [Docket 1067].

       Defendant requests review of his pretrial detention on either of two grounds. First, he asks

the Court to consider the length of time he has been detained and release him under a provision of

the Speedy Trial Act, 18 U.S.C. § 3164(c). Second, and in the alternative, he seeks to reopen his

detention hearing under 18 U.S.C. § 3142(f).

       Defendant is not entitled to relief under § 3164(c) at this time. Section 3164(c) provides, with

certain exceptions, that a defendant should not be detained in excess of ninety days. However, days

found to be excludable for Speedy Trial Act purposes under 18 U.S.C. § 3161(h) likewise are

excludable under § 3164.

       Although Defendant has been in continuous custody for greater than ninety calendar days, the

Court previously has found the majority of those days to be excludable under § 3161(h). (See, e.g.,

Dockets 568, 1044.) With the excludable days disregarded, Defendant has been in detention fewer
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than ninety days. Accordingly, Defendant’s motion [Docket 1067] is DENIED IN PART to the

extent that he seeks review under § 3164.

       In the alternative, Defendant seeks to reopen his detention hearing under 18 U.S.C. § 3142(f).

For reasons appearing to the Court, this remaining portion of Defendant’s motion is REFERRED

to United States Magistrate Judge Mary E. Stanley for the purpose of doing all things proper to hear

and determine or make recommendations for disposition of this motion including, without limitation,

conducting a hearing on the motion, if necessary, and entering into the record a written order setting

forth the disposition of the motion or recommendation for disposition, as the case may be. 28 U.S.C.

§§ 636(b)(1)(A), 636(b)(1)(B).

       IT IS SO ORDERED.

       The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and counsel,

and the United States Attorney.

                                              ENTER:          February 26, 2010




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